It is contended there was error below because the court failed to take cognizance of the legal presumption of a gift as the transactions were between husband and wife.
The parties were married after a short acquaintance following a chance meeting in a tavern. The respondent, the husband, and his fourteen-year-old son moved into the wife's home. Before the marriage he advanced to her $1200 and after the marriage made further advances in the amount of $2,000.
The husband testified these were financial loans which the wife agreed to repay, while she says they were gifts.
There was testimony that shortly after the ceremony the appellant started abusing the son and there was considerable friction. She stopped providing meals and ordered the boy to leave the house and thereafter the respondent was given his personal effects and told not to come back.
We have made an independent appraisal and determination of the evidence in the light of the presumption of a gift as to those transactions between husband and wife. Our conclusion is the same as that of the Vice Chancellor below, to wit, that the moneys advanced were loans and that the wife should repay them to the husband.
The decree below is therefore affirmed.
For affirmance: Chief Justice VANDERBILT, and Justices CASE, HEHER, WACHENFELD, BURLING and ACKERSON — 6.
For reversal: None. *Page 118 